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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA


IN RE: XARELTO (RIVAROXABAN)                                   :
PRODUCTS LIABILITY LITIGATION                                  :        MDL No. 2592
                                                               :
                                                               :        SECTION L
THIS DOCUMENT RELATES TO ALL                                   :
CASES ON ATTACHED EXHIBIT A                                    :
                                                               :        JUDGE ELDON E. FALLON
                                                               :
                                                               :        MAGISTRATE JUDGE NORTH


         DEFENDANTS’ MOTION FOR ORDER TO SHOW CAUSE REGARDING
         PLAINTIFFS WHO HAVE FILED DUPLICATE CASES IN MDL NO. 2592

         Defendants Janssen Research & Development LLC, Janssen Pharmaceuticals, Inc., Janssen

Ortho LLC, Johnson & Johnson, Bayer HealthCare Pharmaceuticals Inc., and Bayer Pharma AG

(“Defendants”)1 respectfully request that this Court issue an Order to Show Cause regarding

plaintiffs who have filed more than one case in this litigation on the attached Exhibit A, as to why

the second-filed case should not be dismissed with prejudice.




1
 Defendants file this motion to the extent they have been properly served and preserving all applicable service
defenses.
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                               Respectfully submitted,


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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on August 9, 2018, the foregoing pleading was filed
electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will be sent
to Liaison Counsel for Plaintiffs and Defendants by operation of the court’s electronic filing
system and served on all other plaintiff counsel via MDL Centrality, which will send notice of
electronic filing in accordance with the procedures established in MDL 2592 pursuant to Pre-Trial
Order No. 17.

                                              /s/ James B. Irwin
                                              James B. Irwin
